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               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   GAINESVILLE DIVISION

DARLENE HUGHES,
                                  Case No. 1:15-cv-00007-MW-GRJ
                 Plaintiff,
v.

FAMILY LIFE CARE, INC.
a Florida Corporation,

                 Defendant.

            REPLY TO DEFENDANT'S RESPONSE TO
          PLAINTIFF'S MOTION FOR ATTORNEY’S FEES

     Plaintiff, as directed by the Court's Order of November 10, 2016,

files this Reply to Defendant's response to her Motion to for Attorney’s

Fees (ECF No. 84) as follows:

     I.    Defendant’s Suggested $250 Per Hour Rate is Less
           Than The $300 Per Hour It Paid Its Own Attorney

     Defendant and its expert argue that a reasonable hourly rate for

the undersigned should only be $250 per hour -- $50 less than it paid its

own attorney to defend this case. Attached as Exhibit D to Plaintiff’s

Motion for Attorney’s Fees is proof that Mr. Aguilar was billing

Defendant at $300 for his services, although Mr. Aguilar shows no signs

of being an employment or labor law litigator on his website. See Doc.

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79-4. As such, either Mr. Aguilar has billed his client an excessive fee

for his services or the notion that only $250 is reasonable for the

undersigned is patently incorrect.

     Moreover, Mr. Aguilar was paid $300 per hour without the delay

and risks of nonpayment factors that would factor into the decision. By

way of example, should a client walk any attorney’s office stating that

payment might be made years from today’s date, then the “current”

hourly rate charged for the requested services would reflect that

payment arrangement. The resulting rate would be well in excess of the

$300 Mr. Agular charged his client for the same services, of which he

was paid immediately. This is true for any product or service because of

both the time value of money and risks built into current prices.

     II.   The Hours Requested Are Reasonable

     Defendant cites Oliva v. Infinite Energy, Inc. 2013 WL 6815989

(N.D. Fla., Gainesville Div. 2013) for the notion that an attorney cannot

bill for the receipt and review of documents such as notices and

scheduling orders. However, the Olivia decision granted compensation

for “8 hours of review” of various documents in that case – an entire

day’s worth of work. Id. at page 16. Moreover, every attorney has an

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obligation to review Court orders (and, thus, comply with every word);

the argument that reviewing Court Orders, such as the Scheduling

Order entered in this case at Doc. 6, is unnecessary legal work is a

frivolous argument that is symbolic of Defendant’s other attempts to

reduce the time necessarily spent in prosecuting this case.

       Defendant also attempts to criticize the amount of time the

undersigned spent preparing the successful Motion for Partial

Summary Judgment. However, that the careful preparation of that

motion reduced the amount of time the undersigned had to spend in

this case – thus ultimately saving everyone time and expense. Compare

that to the situation in Olivia, where “Plaintiff took a total of 18

depositions, although she only used 4 of the depositions in her motion

for summary judgment.” Id. at 15. Here, the undersigned took none.

Without the Motion for Partial Summary Judgment, not only would

discovery been more expansive and expensive but the trial of this case

would also have been longer and more involved.

     III. Defendant Delayed in Producing Documents

     Defendant also seems to imply it did not delay in producing

documents, and thus analysis for missing documents and the review of

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them when ultimately produced was unnecessary. However,

Defendant’s counsel’s August 10, 2016 email proves otherwise:

     I checked my documents and neither my client nor I know
     why the 2013 reports were not included when all the others
     were printed and furnished to me. I got the 2013 reports
     and I have enclosed them here.

See attached Exhibit A. Even then, as noted in the undersigned’s

email of September 13, 2016 (also attached hereto as part of Exhibit

A), documents such as compensation reports for November 24, 2014 and

December 8, 2014 were still missing. Id. Constant issues and problems

such as this necessarily led to more time spent chasing documents that

otherwise should have been produced early on in this case.

     IV.   The Improperly Married Exhibits Were Correctly
           Married at The Beginning of Plaintiff’s Deposition

     Finally, Defendant claims that its “prompt response” resolved the

issue regarding its use of Exhibits at trial – it did not. Attached hereto

as Exhibits B and C are color copies of the documents the undersigned

was provided at Plaintiff’s deposition. Notably, there is no staple holes

in the attached Exhibit B – demonstrating that it had never been

stapled to another document when given to the undersigned at the

deposition. Exhibit C was, and still is, stapled to its proper

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attachment.

     Defendant’s counsel in his email cites the deposition transcript

regarding his questioning of Plaintiff on these documents as arranged

at trial. However, that just leads to the conclusion that these documents

were improperly arranged at some point during the actual deposition

and improper questioning also occurred then (as it did at trial to try to

make Plaintiff look as though she was fabricating her hours worked).

The copies provided to the undersigned by Defendant’s counsel at the

deposition are correctly married. If Defendant’s counsel brought to the

deposition these exhibits correctly stapled, then they never should have

been rearranged at some point during Plaintiff’s deposition or for the

trial. Plaintiff (an elderly person without a high level of education)

never should have been questioned and misled as if these documents

were correctly married. This was no slight error, as the cornerstone of

Defendant’s defense (and resolute to bring this case to trial) was largely

based on argument and testimony regarding these documents.

     V.    Defendant’s Counsel Prepared the Discovery
           Response Forcing the Motion to Compel

     Defendant claims that Plaintiff did not tie “the conduct which


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[she] believes justifies sanctions directly to an improper certificate

related to discovery responses,” citing Cherrington Asia Limited v. A&L

Underground, Inc., 263 F.R.D. 653 (D. Kan, 2010). However, that case

is not at all applicable as it involved a case where “Plaintiffs never

specifically claim that certificates signed by A&L's counsel concerning

responses to Plaintiffs' discovery requests violated the provisions of

Rule 26(g)(1).” Id. at 658. Instead, in this case, the improper discovery

responses were prepared by Defendant’s counsel himself; thus, he would

be responsible for such sanctions.

      Unlike Cherrington Asia Limited which has no apparent

similarities to the instant situation, the case previously cited by

Plaintiff (Branhaven LLC v. Beeftek, Inc., —F.R.D.—, 2013 WL 388429

(D. Md. Jan. 4, 2013)) is applicable. There, the court imposed sanctions

for discovery violations, including violations of Fed. R. Civ. P. 34(b)

addressing the appropriate format of production. That is very similar,

if not practically identical, to the instant situation.

Dated: November 10, 2016

By /s/ Michael Massey
  Michael Massey, FBN 153680


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                      CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing

has been provided via electronic means to counsel for the Defendant

this November 10, 2016 by filing the same with the Court's electronic

filing system. This reply is in 14 point font and has 1094 words.


/s/ Michael Massey
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